                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

INNOVATION SCIENCES, LLC,
          Plaintiff,
     v.                                               Civil Action No.4:18-cv-00474-ALM
                                                      Consolidated Lead Case
AMAZON.COM, INC., ET AL.,
         Defendants.
INNOVATION SCIENCES, LLC,
          Plaintiff,
     v.                                               Civil Action No.4:18-cv-00475-ALM
                                                      Member Case
RESIDEO TECHNOLOGIES, INC.,
          Defendant.
INNOVATION SCIENCES, LLC,
          Plaintiff,
     v.                                               Civil Action No.4:18-cv-00476-ALM
                                                      Member Case
HTC CORPORATION,
          Defendant.
INNOVATION SCIENCES, LLC,
          Plaintiff,
     v.                                               Civil Action No.4:18-cv-00477-ALM
                                                      Member Case
VECTOR SECURITY, INC.,
          Defendant.


    [PROPOSED] ORDER GRANTING INNOVATION SCIENCES, LLC’S
MOTION FOR SANCTIONS AGAINST AMAZON.COM, INC., AMAZON DIGITAL
         SERVICES, LLC, AND AMAZON WEB SERVICES, INC.

       The Court has fully considered Plaintiff Innovation Sciences, LLC’s Motion for

Sanctions Against Amazon.com, Inc., Amazon Digital Services, LLC, and Amazon Web

Services, Inc. and the Court concludes that the Motion should be GRANTED. Therefore, it is

       ORDERED that the following sanctions are imposed on Amazon.com, Inc., Amazon

Digital Services, LLC, and Amazon Web Services, Inc. (collectively “Amazon”): (1) that neither
Amazon nor its experts may rely upon any document not produced by April 17, 2019; (2) that

Innovation is granted leave to file supplemental opening expert reports once Amazon has

fulfilled its discovery obligations; (3) the Court will enter adverse inferences that (a) the unique

identifiers for the accused products, user telephone, user WiFi network and smart home devices

are each associated with a user’s Amazon account in a mapping table as claimed in the asserted

patents, and (b) Amazon’s revenue associated with the sale of the accused products is all profit;

and (4) any other appropriate relief. Further, Amazon shall pay attorney’s fees and costs to

Innovation for the work done to prepare this motion, any replies to this motion, and the hearing

held on this motion.

IT IS SO ORDERED.
